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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WEI CHIN,

                        Petitioner,                   Criminal Action No. 8-124 (JMC)

         v.

 UNITED STATES,

                        Respondent.

                                  MEMORANDUM OPINION

       Petitioner Wei Chin seeks, yet again, a writ of habeas corpus under 28 U.S.C. § 2255. ECF

85. He challenges the judgment of conviction entered in United States v. Chin, 8-cr-124. The Court

DISMISSES Chin’s habeas petition for lack of subject-matter jurisdiction.

       In 2008, Chin pleaded guilty to violating 18 U.S.C. § 2423(b). ECF 10. A year later, Chin

petitioned for habeas relief under § 2255, seeking to have his sentence vacated or set aside. ECF

29 at 3. The Court denied that petition. ECF 68. In 2022, Chin filed another habeas petition under

§ 2255. ECF 81. The Court again denied that petition, explaining that parties who want to file a

second or successive habeas petition in a district court must move the court of appeals to authorize

the district court to consider the petition. ECF 82 (citing 28 U.S.C. § 2244(b)(3)(A)); ECF 83.

Without such authorization, this Court explained, the district court lacks subject-matter jurisdiction

to consider the habeas petition. ECF 82 (citing Burton v. Stewart, 549 U.S. 147, 149 (2007)).

       Chin now files yet another habeas petition under § 2255. ECF 85. He again seeks relief

related to his 2008 guilty plea. Id. at 1. But Chin did not move the Court of Appeals for the D.C.

Circuit to allow him to file this petition. Because Chin has filed a second or successive habeas




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petition without obtaining the appropriate authorization from the court of appeals, this Court lacks

subject-matter jurisdiction over this petition. Chin’s petition is thus dismissed.

       SO ORDERED.

       DATE: August 4, 2023




                                                                     Jia M. Cobb
                                                              U.S. District Court Judge




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